






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-09-00577-CV






In re Seth Rountree






ORIGINAL PROCEEDING FROM WILLIAMSON COUNTY






M E M O R A N D U M   O P I N I O N




Seth Rountree petitions for a writ of mandamus to compel the district court to enter
a judgment nunc pro tunc "to give the defendant credit [for] time spent on Deferred Adjudication
and Probation in Constructive Custody" in Williamson County cause number 98-897-K26.  When
community supervision is revoked, however, "[n]o part of the time that the defendant is on
community supervision shall be considered as any part of the time that he shall be sentenced to
serve," with an exception that is not alleged to apply here.  Tex. Code Crim. Proc. Ann. art. 42.12,
§ 23(b) (West Supp. 2008).

The petition for writ of mandamus is denied.  See Tex. R. App. P. 52.8(a).



				__________________________________________

				Jan P. Patterson, Justice

Before Justices Patterson, Puryear and Pemberton

Filed:   October 20, 2009


